            Case 1:21-cv-11059-GHW Document 30 Filed 03/21/22 Page 1 of 4

      quinn emanuel             trial lawyers | new york
      51 Madison Avenue, 22nd Floor, New York, New York 10010-1601 | TEL (212) 849-7000 FAX (212) 849-7100



March 21, 2022

BY ECF
 The Honorable Gregory H. Woods
 United States District Judge
 Daniel Patrick Moynihan U.S. Courthouse
 500 Pearl Street, Room 1920
 New York, New York 10007

Re:     U.S. Bank National Association, in its capacity as Trustee, et al. v. The Charitable Donor
        Advised Fund, L.P., et al., No. 1:21-cv-11059 (S.D.N.Y.)

Dear Judge Woods:

        Pursuant to Rule 2(C) of Your Honor’s Individual Rules of Practice, we write on behalf of
Plaintiffs U.S. Bank National Association, in its capacity as trustee (the “Trustee”), Joshua N.
Terry (“Mr. Terry”), and Acis Capital Management, L.P. (“ACM,” and, collectively, with the
Trustee and Mr. Terry, “Plaintiffs”) in response to Defendants The Charitable Donor Advised
Fund, L.P.’s (“DAF”) and CLO HoldCo, Ltd.’s (“CLO HoldCo,” and, collectively with “DAF,”
the “DAF Defendants”) pre-motion letter (Dkt. 23).

Background

        Plaintiffs seek a declaratory judgment that the DAF Defendants are barred from bringing
claims against Plaintiffs concerning the purported mismanagement of Acis CLO 2014-4 Ltd., Acis
CLO 2014-5 Ltd., and Acis CLO 2014-6 Ltd. (collectively, the “ACIS CLOs”). DAF first
asserted these claims against Plaintiffs in 2019 (the “2019 Lawsuit”), Dkt. 15 (“Complaint” or
“AC”) ¶¶ 32-38, and the DAF Defendants sued Plaintiffs in 2020 on substantively identical
allegations (the “2020 Lawsuit,” and, collectively with the 2019 Lawsuit, the “2019 and 2020
Lawsuits”), id. ¶¶ 39-41. The DAF Defendants purported to voluntarily dismiss both lawsuits
without prejudice. Id. ¶¶ 38, 41. Following the dismissal of the 2020 Lawsuit, they reiterated
their baseless claims against Plaintiffs and threatened to “proceed to litigation” if the Trustee
refused to accede to their demands. Dkt. 15-8 at 8; AC ¶¶ 42-43. That threat crystallized when
defendant NexPoint Diversified Real Estate Trust (“NexPoint”), which together with the DAF
Defendants is under the functional control of James Dondero, sued Plaintiffs in May 2021 and
repeated the same vexatious claims previously made by the DAF Defendants.1 AC ¶¶ 44-46. In
December 2021, Plaintiffs again sought to eliminate the uncertainty created by the DAF
Defendants’ repeated assertion of legal claims against Plaintiffs by asking them to “release the
[t]hreatened [c]laims.” Dkt. 15-10 at 2; see AC ¶ 47. The DAF Defendants refused. Dkt. 15-
11 at 2; see AC ¶ 47.


        1
          The Court ordered that this Action be treated as related to the NexPoint suit on January
3, 2022—the cases were not merely “docketed as ‘related’” as the DAF Defendants suggest (Dkt.
23 at 1 n.1).

      quinn emanuel urquhart & sullivan, llp
      LOS ANGELES | NEW YORK | SAN FRANCISCO | SILICON VALLEY | CHICAGO | WASHINGTON, DC | HOUSTON | SEATTLE
      LONDON | TOKYO | MANNHEIM | MOSCOW | HAMBURG | PARIS | MUNICH | SYDNEY | HONG KONG | BRUSSELS | ZURICH
           Case 1:21-cv-11059-GHW Document 30 Filed 03/21/22 Page 2 of 4

       The DAF Defendants’ threatened claims create a cognizable threat and real risk of injury
to Plaintiffs. The DAF Defendants sought millions in damages from Plaintiffs in the 2020
Lawsuit, Dkt. 15-7 at 3, 32, and they continue to threaten Plaintiffs with claims for those same
damages, AC ¶¶ 42-43. Those threats prompted the retention of liquidation proceeds to cover
the ACIS CLOs’ potential indemnification obligations, which are delaying payments to
subordinated noteholders. Id. ¶ 51. The DAF Defendants have refused to provide a release even
though approximately half of the proceeds being delayed from distribution ultimately would flow
to them, demonstrating that they are likely to assert claims against Plaintiffs in the future.

The DAF Defendants’ Threats Created The Controversy They Now Deny

        The DAF Defendants’ assertion that the threatened claims—which they twice brought
against Plaintiffs and have refused to release—do not create a controversy is unsupported and
wrong. It is settled that “[a]ctual threats of litigation … create[] a case or controversy.” In re
Chateaugay Corp., 201 B.R. 48, 67 (Bankr. S.D.N.Y. 1996), aff'd in part, 213 B.R. 633 (S.D.N.Y.
1997). The DAF Defendants thus cannot level threats of litigation and then disavow the
controversy they created as failing to satisfy the Declaratory Judgment Act. See Museum of Mod.
Art v. Schoeps, 549 F. Supp. 2d 543, 547 (S.D.N.Y. 2008) (finding that the Declaratory Judgment
Act “temper[s]” the ability of parties “to refuse to initiate a lawsuit while hanging the threat of one
over” plaintiffs). The DAF Defendants’ efforts to evade this clear precedent are unavailing.

        First, the DAF Defendants claim (Dkt. 23 at 2) that the injury, which they characterize as
delayed payments to noteholders, is not “traceable” to their threats to sue. But they ignore that
they threatened to sue Plaintiffs for millions of dollars. Dkt. 15-7 at 3, 32. That repeated and
“non-speculative threat of litigation” itself establishes a “risk of real harm” directly traceable to
their actions that satisfies the injury requirement.2 See U.S. Bank Nat’l Ass’n v. Triaxx Asset
Mgmt. LLC, 2021 WL 4993895, at *7 (S.D.N.Y. Oct. 26, 2021) (quotation omitted).

        While no more is required, the delayed payments to noteholders also satisfy the traceable
injury requirement because the Complaint alleges that liquidation proceeds were retained, and
distributions delayed, because the DAF Defendants threatened litigation. AC ¶ 51. That
allegation must be taken as true, Choi’s Beer Shop, LLC v. PNC Merch. Servs. Co., 855 F. App’x
20, 22 (2d Cir. 2021), and it more than satisfies the traceability test that “defendants … engaged
in conduct that may have contributed to causing the injury.” NRDC v. FDA, 710 F.3d 71, 85 (2d
Cir. 2013) (emphasis added). Indeed, Plaintiffs calculated the retained amounts in part based on
the damages the 2019 and 2020 Lawsuits alleged. The DAF Defendants cannot overcome these
well-pled allegations with a conclusory assertion that Plaintiffs are somehow at fault for the
reserves that the DAF Defendants instigated by serially abusing the litigation process.3 Id.


       2
          The DAF Defendants’ reliance (Dkt. 23 at 2) on Election Computer Servs., Inc. v.
Aristotle Pub., Inc., 1997 WL 438798, at *2 (S.D.N.Y. Aug. 4, 1997) is misplaced. Election
Computer relied on a case in which the threatening party assured plaintiff it would not sue—
which the DAF Defendants refused to do here. 1997 WL 438798, at *2 (citing Hewlett-
Packard Co. v. Genrad, Inc., 882 F. Supp. 1141, 1156 (D. Mass. 1995)).
       3
         Taylor v. Bernanke does not assist the DAF Defendants (contra Dkt. 23 at 2) because
proceeds were retained to effect contractual indemnification obligations, not Plaintiffs’ “personal
choices” about where to deposit money. 2013 WL 4811222, at *10 n.5 (E.D.N.Y. Sept. 9, 2013).




                                                  2
         Case 1:21-cv-11059-GHW Document 30 Filed 03/21/22 Page 3 of 4

        Second, the DAF Defendants claim (Dkt. 23 at 2-3) that the injuries to Plaintiffs are not
redressable. But they are. The DAF Defendants ignore the threatened injury of imposing
millions of dollars in liability on Plaintiffs. Granting declaratory judgment “would redress …
[those] threatened injuries” by “barring” the DAF Defendants’ threatened claims and “protecting
[Plaintiffs] … from the legal fees and other costs associated” with those claims. U.S. Bank Nat’l
Ass’n, 2021 WL 4993895, at *8; see Museum of Mod. Art, 549 F. Supp. 2d at 548 (declaratory
judgment “relieves potential defendants ‘from the Damoclean threat of impending litigation’”).

         The DAF Defendants’ suggestion that a declaratory judgment might be ineffective because
they might “later acquir[e] standing” after judgment (Dkt. 23 at 3) fails because it “requires both
improper speculation and unnecessary certainty.” Mhany Mgmt., Inc. v. Cty. of Nassau, 819 F.3d
581, 600 (2d Cir. 2016). The DAF Defendants admit that they do not own any subordinated notes
that could ground standing (Dkt. 23 at 3 n.3) and have not shown that they will later acquire direct
ownership. Even if they did, they could only do so subject to Highland CLO Funding, Ltd.’s
release of the very claims the DAF Defendants continue to threaten. AC ¶ 50; Dkt. 15-12 § 10.
It is sufficient that the declaratory judgment redresses the injuries that the DAF Defendants have
caused or threatened. Plaintiffs need not also show that it would prevent every conceivable future
injury.

        The DAF Defendants’ further speculation (Dkt. 23 at 3) that a declaratory judgment might
be ineffective because it might not result in a release of Plaintiffs’ litigation reserves is even farther
afield. As already explained, Plaintiffs need not rely on the litigation reserves to establish injury-
in-fact; the DAF Defendants’ multimillion dollar litigation threat more than suffices to check that
box. See supra at 2. In any event, Plaintiffs expressly allege that prevailing on their declaratory
judgment claims would “free up funds” for distribution, AC ¶ 52, and the DAF Defendants fail to
provide any reason, let alone a compelling one, to discredit these well-pled facts.

Plaintiffs Are The Real Parties In Interest

        The DAF Defendants’ argument (Dkt. 23 at 3) that the Plaintiffs they twice sued,
subsequently threatened to sue, and most recently refused to withdraw claims against are somehow
not the real parties in interest under Fed. R. Civ. P. 17(a) fails. This argument is predicated on
the inaccurate assumption that Plaintiffs are bringing the claims solely “on behalf of the holders
of subordinated notes.” Id. Instead, Plaintiffs are bringing the claims on their own behalf and
are real parties in interest because they face millions in potential liability from the DAF
Defendants’ threatened claims. See Humm v. Lombard World Trade, Inc., 916 F. Supp. 291, 298
(S.D.N.Y. 1996) (investors were “real parties in interest” because they “face[d] … liability”).
That assumption is also irrelevant, because “the real party in interest is the one who has the power
to enforce the right in question, even if that party does not benefit from the right’s vindication.”
House of Eur. Funding I Ltd. v. Wells Fargo Bank, 2015 WL 5190432, at *5 (S.D.N.Y. Sept. 4,
2015). That standard is met because Plaintiffs have the power to enforce the right to seek
declaratory judgment to be free from the threat of litigation.

        Further, even if the DAF Defendants’ theory that the action is brought solely to protect
subordinated noteholders’ ability to receive payment on their notes were correct, the Trustee would
be the real party in interest because the Indenture grants it the right to bring such claims. See
Indentures § 5.6 (granting the Trustee the right to prosecute “rights of action and claims under this
Indenture or under any of the Secured Notes … in its own name”).




                                                    3
         Case 1:21-cv-11059-GHW Document 30 Filed 03/21/22 Page 4 of 4

Respectfully submitted,

/s/ Jonathan E. Pickhardt
Jonathan E. Pickhardt
Quinn Emanuel Urquhart & Sullivan, LLP
Counsel for Acis Capital Management, L.P. & Joshua N. Terry
Tel: (212) 849-7115
Email: jonathanpickhardt@quinnemanuel.com

/s/ Mark D. Kotwick
Mark D. Kotwick
Seward & Kissel LLP
Counsel for U.S. Bank National Association
Tel: (212) 574-1545
Email: kotwick@sewkis.com

cc:   Counsel of Record (by ECF)




                                             4
